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               UNITED STATES DISTRICT COURT
         FOR THE EASTERN DISTRICT OF PENNSYLVANIA

WILLIAM F. WALKER,                             )
                                               )
               Plaintiff,                      )
       v.                                      )
                                               ) Case No.: 2:10-CV-03907
                                               )
NCO FINANCIAL SYSTEMS, INC.                    )
                                               )
                                               )
               Defendant.                      )

                              STIPULATION TO DISMISS

TO THE CLERK:

       Pursuant to Rule 41.1(b), counsel for all parties hereto stipulate to the dismissal

with prejudice without cost to either party.




       /S/ Ross S. Enders _____                      /S/ Craig Thor Kimmel ____
       Ross S. Enders, Esquire                       Craig Thor Kimmel, Esquire
       Attorney for the Defendant                    Attorney for the Plaintiff

       Date: October 12, 2010                        Date: October 12, 2010


                                    BY THE COURT:



                                      _________________________
                                                              J.
